Case 2:04-Cv-03015-.]PI\/|-tmp Document 15 Filed 08/11/05 Page 1 of 3 Page|D 22

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IN THE UNITED sTATEs DIsTRIcT coURT

FOR THE WESTER.N DISTRICT OF TENNESSEE 05 AU[; f l PH 3: h3
WESTERN DIVISION

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CtEl`s;<._ ss _`_s€t§? CGUHT
‘sss) tilsz
ELEcTRIc INsURANcE coMPANY,

Plaintiff,
vs.

NATIONWIDE MUTUAL INST.TRANCE

COMPANY, 04-3015 Ml/P

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Defendant.

 

ORDER DEN'YING DEFEN'.DANT'S MOTION FOR PROTECTIVE ORDER

 

Before the Court is defendant Nationwide Mutual Insurance
Company's Motion for Protective Order, filed July 25, 2005 (dkt
#12). In its motion, the defendant asks the court to stay all
discovery in this case until such time that the court rules on
defendant’s pending motion to dismiss. The plaintiff filed its
response in opposition on July 26, 2005.

It is well settled. that a court has discretion. to stay
discovery‘ pending determination of dispositive motions. §§g
Nichols v. BaDtiSt MemOrial HOSD., NO. 02-2561, 2004 WL 2905406, at
*2 (W.D. Tenn. April 2, 2004)(unpublished)(citing cases).
Moreover, Fed. R. Civ. P. l states that the federal rules “shall be

construed and administered to secure the just, speedy, and

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with Ru|a 58 and/or 79{a) FRCP on '/@*£}‘5

 

Case 2:O4-Cv-03015-.]PI\/|-tmp Document 15 Filed 08/11/05 Page 2 of 3 Page|D 23

inexpensive determination of every action.” ld. (quoting Fed. R.
Civ. P. 1). Upon review of the entire record, the court concludes
that a stay of discovery is not appropriate in this case. Also, it
appears that a ruling favorable to the defendant on its motion to

dismiss may not resolve all claims raised in the complaint.

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TU M. PHAM
United States Magistrate Judge

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Date U

Therefore, the motion is DENIED.

IT IS SO ORDERED.

       

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Honorable J on McCalla
US DISTRICT COURT

